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 6
     Attorney for Calvin Belloso
 7
 8                               UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                           Case No. 2:18-cr-00279-APG-EJY
11
                    Plaintiff,                               STIPULATION TO CONTINUE
12                                                             SENTENCING HEARING
            v.
                                                                    (First Request)
13
     CALVIN BELLOSO,
14
                    Defendant.
15
16
            IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
17
     Acting United States Attorney, and Melanee Smith, Assistant United States Attorney, counsel
18
     for the United States of America, and Rene L. Valladares, Federal Public Defender, and Navid
19
     Afshar, Assistant Federal Public Defender, counsel for Calvin Belloso, that the Sentencing
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     Hearing currently scheduled on March 10, 2022, be vacated and continued to a date and time
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     convenient to the Court, but no sooner than seventy-five (75) days.
22
            This Stipulation is entered into for the following reasons:
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            1.      New counsel has come on case and would like time to get caught up to speed.
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     An expert might be retained for sentencing purposes and needs time to review materials. Along
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     with does not object, govt does not object, etc.
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            2.      The defendant is not in custody and agrees with the need for the continuance.
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 1         3.     The parties agree to the continuance.
 2         This is the first request for a continuance of the sentencing hearing.
 3         DATED this 4th day of March, 2022.
 4
 5   RENE L. VALLADARES                              CHRISTOPHER CHIOU
     Federal Public Defender                         Acting United States Attorney
 6
 7
     By /s/ Navid Afshar                             By /s/ Melanee Smith
 8   NAVID AFSHAR                                    MELANEE SMITH
     Assistant Federal Public Defender               Assistant United States Attorney
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 1                               UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 2:18-cr-00279-APG-EJY-1
 4
                    Plaintiff,                           ORDER
 5
            v.
 6
     CALVIN BELLOSO,
 7
                    Defendant.
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 9
10          IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for

11   Thursday, March 10, 2022 at 2:30 p.m., be vacated and continued to June 8, 2022 at the hour

12   of 9:00 a.m. in Courtroom 6C; or to a time and date convenient to the court.

13          DATED this 7th day of March, 2022.

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                                                  UNITED STATES DISTRICT JUDGE
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